Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 1 of 22 PageID 541




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA

    STEWART ABRAMSON, on behalf of                         :
    himself and others similarly situated,                 : No. 8:19-cv-02523-TPB-AAS
                                                           :
            Plaintiff,                                     :
                                                           :
    v.                                                     : PLAINTIFF’S RESPONSE IN
                                                           : OPPOSITION TO DEFENDANT
    FEDERAL INSURANCE COMPANY,                             : FEDERAL INSURANCE COMPANY’S
    0995316 B.C. LTD. D/B/A XENCALL and                    : MOTION TO DISMISS
    BAY AREA HEALTH, LLC,                                  :
                                                           :
            Defendants.                                    :
                                                           :
                                                       /


                                      I.      INTRODUCTION

           Plaintiff Stewart Abramson sued Defendant Federal Insurance Company, for

   violations of section 227(b)(1) of the Telephone Consumer Protection Act which prohibits

   unwanted pre-recorded calls to cellular phone numbers. Federal Insurance moves to dismiss

   Plaintiff’s Amended Complaint, arguing that Plaintiff’s claims should be dismissed for lack

   of subject matter jurisdiction. Specifically, Federal Insurance argues that the Supreme

   Court’s holding in Barr v. American Association of Political Consultants, Inc., that “the 2015

   government-debt exception created an unconstitutional exception to the 1991 robocall

   restriction,” 140 S. Ct. 2335, 2348 (2020), rendered the entire robocall restriction

   unenforceable for the time the government-debt exception was in effect. In essence, Federal

   Insurance contends that it is as if the 1991 robocall ban did not exist between 2015 and 2020,

   eliminating all liability for robocalls made in the last five years.
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 2 of 22 PageID 542




          Defendant’s motion must be denied. In AAPC, the Supreme Court applied

   longstanding severability principles to conclude that “the entire 1991 robocall restriction

   should not be invalidated, but rather that the 2015 government debt-exception must be

   invalidated and severed from the remainder of the statute.” Id. at 2343. Seven Justices

   concurred in the severability discussion, which made clear that while “no one should be

   penalized or held liable for making robocalls to collect government debt” between 2015 and

   2020, “our decision today does not negate the liability of parties who made robocalls covered

   by the robocall restriction.” Id. at 2355 n.12. This mandate is consistent with well-established

   severability law and has been followed by the majority of courts. Defendant urges the Court

   to ignore this mandate and instead adopt the reasoning of the two district courts that

   misconstrued AAPC.

          To be clear, Defendant is not being sued for placing calls to collect government debt

   that they thought were exempted from the TCPA. As stated in Justice Kavanaugh’s plurality

   opinion, “[c]onstitutional litigation is not a game of gotcha against Congress, where litigants

   can ride a discrete constitutional flaw in a statute to take down the whole, otherwise

   constitutional statute.” AAPC, 140 S. Ct. at 2351. That is precisely what Defendant seeks to

   accomplish with its motion, and the Court should decline Defendant’s invitation to ignore

   binding Supreme Court precedent. Plaintiff requests that the Court deny Defendant’s motion.

                                      II.    BARR V. AAPC

          In Barr v. AAPC, political consultants who wanted to make political outreach

   robocalls brought a declaratory judgment action against the United States Attorney General




                                                    2
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 3 of 22 PageID 543




   and Federal Communications Commission, claiming that the TCPA’s prohibition on

   robocalls violated the First Amendment. In 1991, the TCPA amended the Communications

   Act by adding the robocall restriction, codified at § 227(b)(1)(A)(iii), banning calls made

   using an artificial telephone dialing system or artificial or prerecorded voice to cell phones.

   AAPC, 140 S. Ct. at 2352. Between 1991 and 2015, the TCPA’s prohibition on the use of

   autodialers and prerecorded messages to call cell phones operated without any constitutional

   issue. Id. at 2353 (“Indeed, the remainder of the robocall restriction did function

   independently and fully operate as a law for 20-plus years before the government-debt

   exception was added in 2015.”). In 2015, “Congress carved out a new government-debt

   exception to the general robocall restriction.” Id. at 2345. The plaintiffs in AAPC argued that

   the 2015 government-debt exception transformed the robocall prohibition into a content-

   based speech regulation in violation of the First Amendment. Id.

          The district court held that the government-debt exception survived strict scrutiny. Id.

   The Fourth Circuit reversed but, rather than invalidate the entire statute, “invalidated the

   government-debt exception and severed it from the robocall restriction.” Id. The plaintiffs

   and the government petitioned for a writ of certiorari. The plaintiffs argued that the Fourth

   Circuit “did not go far enough in providing relief and should have invalidated the entire 1991

   robocall restriction rather than simply invalidating the 2015 government-debt exception.” Id.

   at 2346.

          The Supreme Court granted certiorari and issued its decision on July 6, 2020. While

   there is no majority opinion of the Court, six Justices concluded that Congress, in passing the




                                                     3
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 4 of 22 PageID 544




   government-debt exception, “impermissibly favored debt-collection speech over political and

   other speech, in violation of the First Amendment.” Id. at 2343. Seven Justices, applying

   severability principles, concluded that “the entire 1991 robocall restriction should not be

   invalidated, but rather that the 2015 government debt-exception must be invalidated and

   severed from the remainder of the statute.” Id. 1 “As a result, plaintiffs still may not make

   political robocalls to cell phones, but their speech is now treated equally with debt-collection

   speech.” Id. at 2344.

          Justice Kavanaugh’s plurality opinion, which was joined by Justices Robert and

   Alito, provides the only significant analysis on the issue of severability. Id. at 2352-55. Four

   additional Justices concurred in the judgment with respect to severability. Id. at 2341, 2357,

   2363. In deciding that the government-debt exception was severable from the remainder of

   the statute, Justice Kavanaugh relied on the Communication Act’s severability clause,

   codified at 47 U.S.C. § 608, as well as traditional principles governing severability. Id. at

   2352. He noted that “the remainder of the robocall restriction did function independently and

   fully operate as a law for 20-plus years before the government-debt exception was added in

   2015,” and that, in the past, when Congress has added an unconstitutional amendment to a



   1
     Justice Kavanaugh announced the judgment of the Court in a plurality opinion which Chief
   Justice Roberts and Justice Alito joined in whole, and which Justice Thomas joined in part.
   AAPC, 140 S. Ct. at 2343-56. Justice Sotomayor concurred in the judgment but would have
   applied intermediate scrutiny. Id. at 2356-57. Justice Breyer, joined by Justices Ginsburg and
   Kagan, concurred in the judgment with respect to severability, but dissented as to the
   plurality’s holding that the government-debt exception violates the First Amendment. Id. at
   2357-63. And Justice Gorsuch issued a final opinion, in which he concurred in the judgment
   in part and dissented on other grounds, and in which Justice Thomas joined in part. Id. at
   2363-67.


                                                     4
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 5 of 22 PageID 545




   prior law, the Court “has treated the original, pre-amendment statute as the ‘valid expression

   of the legislative intent.’” Id. at 2353. Most importantly, in a footnote at the end of his

   section on severability, Justice Kavanaugh makes it clear that “no one should be penalized or

   held liable for making robocalls to collect government debt” between 2015 and 2020, but

   “[o]n the other side of the ledger, our decision today does not negate the liability of parties

   who made robocalls covered by the robocall restriction.” Id. at 2355 n.12.

                             III.   AUTHORITY AND ARGUMENT

          As discussed below, Defendant has not established any basis for the Court to dismiss

   this action. Defendant’s contention that the automated call ban was invalid during the

   putative class period rests on an incorrect reading of AAPC and should be rejected.
          A. The Supreme Court invalidated only the government-debt exception, not the
               robocall prohibition in its entirety.

          The subject of the Supreme Court’s First Amendment analysis in AAPC was the

   government-debt exception—not section 227(b)(1)(A)(iii)’s entire prohibition on robocalls to

   cell phones. The Court reasoned that the “justification for the government-debt exception is

   collecting government debt” and that, while the exception represents a “worthy goal,” it does

   not pass strict scrutiny. AAPC, 140 S. Ct. at 2347 (emphasis added). The Court rejected the

   argument that the entire robocall provision, section 227(b)(1)(A)(iii), was unconstitutional

   and invalid in its entirety. The Court “disagreed with plaintiffs’ … argument for holding the

   entire 1991 robocall restriction unconstitutional” and held only “that the 2015 government-

   debt exception created an unconstitutional exception to the 1991 robocall restriction.” Id. at

   2349 (emphasis added).




                                                     5
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 6 of 22 PageID 546




          In a separate opinion, Justices Gorsuch and Thomas, concurring in the judgment in

   part and dissenting in part, took aim at the entire robocall ban. They reasoned that the

   justification for the robocall ban (not the government-debt exception) failed strict scrutiny

   and concluded that “the challenged robocall ban unconstitutionally infringed on [plaintiffs’]

   speech.” See id. at 2364-65. But Justice Kavanaugh’s three-Justice plurality opinion, holding

   that only the government-debt exception unconstitutional, is controlling because it rests on

   narrower grounds. Under Marks v. United States, “[w]hen a fragmented Court decides a case

   and no single rationale explaining the result enjoys the assent of five Justices, ‘the holding of

   the Court may be viewed as that position taken by those Members who concurred in the

   judgments on the narrowest grounds ….’” 430 U.S. 188, 193 (1977) (ellipsis in original)

   (citations omitted). “[A]n opinion will be the narrowest under Marks if the instances in which

   it would reach the same result in future cases form ‘a logical subset’ of the instances in which

   the other opinion would reach the same result.” EMW Women’s Surgical Center, P.S.C. v.

   Friedlander, 978 F.3d 418, 431 (6th Cir. 2020) (citation omitted). Thus, Justice Kavanaugh’s

   plurality opinion holding only the government-debt exception to the provision prohibiting

   robocalls to cell phones unconstitutional is the holding of the Court.

          B. The TCPA’s ban on pre-severance robocalls remains intact.

          A seven-Justice majority of the Court concluded that it could sever the

   unconstitutional exception from the robocall prohibition and “that the entire 1991 robocall

   restriction should not be invalidated.” AAPC, 140 S. Ct. at 2343. The Court noted the “strong

   presumption of severability” as the “normal rule.” Id. at 2350 (quoting Free Ent. Fund v.




                                                     6
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 7 of 22 PageID 547




   Public Co. Accounting Oversight Bd., 561 U.S. 477, 508 (2010)). In addition, the

   Communications Act has “an express severability clause,” id. at 2352 (citing 47 U.S.C. §

   608), and “absent extraordinary circumstances, the Court should adhere to the text of the

   severability or nonseverability clause.” Id. at 2349. The Court also cited longstanding

   precedent on severability in which “[t]he Court has severed the ‘exception introduced by

   amendment,’ so that ‘the original law stands without the amendatory exception.’” Id. at 2353

   (quoting Truax v. Corrigan, 257 U. S. 312, 342 (1921)). In other words, “the Court has

   treated the original, pre-amendment statute as the ‘valid expression of the legislative intent.’”

   Id. (quoting Frost v. Corporation Comm’n of Oklahoma, 278 U.S. 515, 526–527 (1929)).

          The purpose of severing a clause, provision, or section of a statute is to draw a line

   between what is unconstitutional and what is not, so that courts “salvage rather than destroy

   the rest of the law passed by Congress and signed by the President.” Id. at 2350; see also

   Dorchy v. Kansas, 264 U.S. 286, 289-90 (1924) (“A statute bad in part is not necessarily void

   in its entirety.”). As Justice Kavanaugh explained,

             If courts had broad license to invalidate more than just the offending
             provision, a reviewing court would have to consider what other
             provisions to invalidate: the whole section, the chapter, the statute, the
             public law, or something else altogether. Courts would be largely at sea
             in making that determination, and usually could not do it in a principled
             way. Here, for example, would a court invalidate all or part of the
             Bipartisan Budget Act of 2015 rather than all or part of the 1991 TCPA?
             After all, that 2015 Bipartisan Budget Act, not the 1991 TCPA, added
             the constitutionally problematic government-debt exception. That is the
             kind of free-wheeling policy question that the Court’s presumption of
             severability avoids.




                                                     7
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 8 of 22 PageID 548




   AAPC, 140 S. Ct. at 2351 n.7. Thus, if severed and invalidated, “an unconstitutional statutory

   amendment ‘is a nullity’ and ‘void’ when enacted, and for that reason has no effect on the

   original statute.” Id. at 2353 (quoting Frost, 278 U.S. at 526 (emphasis added)). Once

   severed, it is as if the amendment was never passed by Congress; the legal effect of a severed

   amendment is, therefore, necessarily retroactive.

          The seven-Justice majority held that the legal effect of severing the government-debt

   exception is retroactive. The severability discussion concludes, “In short, the correct result in

   this case is to sever the 2015 government-debt exception and leave in place the longstanding

   robocall restriction.” AAPC, 140 S. Ct. at 2355. Then, in a footnote, the Court explained that

   its decision impacted only robocalls that were made to collect government debt after the

   exception was added in 2015 and that parties remained liable for robocalls made for other

   purposes:
          [A]lthough our decision means the end of the government-debt exception,
          no one should be penalized or held liable for making robocalls to collect
          government debt after the effective date of the 2015 government-debt
          exception and before the entry of final judgment by the District Court on
          remand in this case, or such date that the lower courts determine is
          appropriate. … On the other side of the ledger, our decision today does
          not negate the liability of parties who made robocalls covered by the
          robocall restriction.


   Id. at 2355 n.12 (emphasis added). Justice Gorsuch’s dissent is consistent in characterizing

   the holding of AAPC as “a holding that shields only government-debt collection callers from

   past liability under an admittedly unconstitutional law.” Id. at 2366 (emphasis added).

          The Supreme Court’s explanation of the consequences of its severance of the

   government-debt exception is in line with the well-established principle that severability



                                                     8
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 9 of 22 PageID 549




   determinations are interpretations of federal law that must apply retroactively to all pending

   cases. “When [the Supreme Court] applies a rule of federal law to the parties before it, that

   rule is the controlling interpretation of federal law and must be given full retroactive effect in

   all cases still open on direct review and as to all events, regardless of whether such events

   predate or postdate [the Court’s] announcement of the rule.” Harper v. Va. Dep’t of Taxation,

   509 U.S. 86, 97 (1993). The Supreme Court has “prohibit[ed] the erection of selective

   temporal barriers to the application of federal law” because “the substantive law” should not

   “‘shift and spring’ according to ‘the particular equities of [individual parties’] claims’ of

   actual reliance on an old rule and of harm from a retroactive application of the new rule.” Id.

   (alterations in original) (citation omitted).

           The Harper retroactivity rule is grounded in the idea that courts have no

   “constitutional authority … to disregard current law or to treat similarly situated litigants

   differently.” Id. (citation omitted). Moreover, the Court’s severability holding in AAPC was

   not just a matter of statutory construction, it was also a remedy for a constitutional violation.

   In Harper, the Supreme Court stated that “both the common law and our own decisions have

   recognized a general rule of retrospective effect for the constitutional decisions of this

   Court.” 509 U.S. at 94 (internal quotation marks and brackets omitted).

           The retroactive effect of severability is well established by Supreme Court precedent.

   In 1914, in Eberle v. Michigan, the Supreme Court held that a constitutional statute’s validity

   “could not be impaired by the subsequent adoption of what were in form amendments, but, in

   legal effect, were mere nullities.” 232 U.S. 700, 704-05 (1914). In Eberele, officers of a




                                                     9
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 10 of 22 PageID 550




    brewing company charged with making beer in violation of an 1889 prohibition on

    manufacturing alcohol argued that the prohibition was void because subsequent amendments

    in 1899 and 1903 created an exception for making wine and cider in certain counties, and

    that exception denied the beer brewers equal protection under the law. Id. at 704-05. The

    Court agreed that the amendments violated the Equal Protection clause, but held that they

    were severable from the underlying 1889 prohibition on manufacturing alcohol generally,

    and therefore, the amendments were “mere nullities” that did not invalidate the 1889

    prohibition. Id. Accordingly, the Court sustained the defendants’ convictions. Just as the

    defendants in Eberle could not escape liability for selling beer despite the unconstitutional

    exceptions for those selling wine and cider at the time, Defendant Federal Insurance cannot

    escape liability for robocalling consumers despite the unconstitutional statutory exception for

    government-debt collectors at the time of the calls.

           A decade after Eberle, the Supreme Court reaffirmed that its severability holdings

    apply retroactively. In Frost, the Court held that a 1925 amendment exempting certain

    corporations from making a showing of “public necessity” in order to obtain a cotton gin

    license constituted an unconstitutional denial of equal protection. 278 U.S. at 524-25. The

    Court held the 1925 amendment was severable from the 1915 law requiring a showing of

    “public necessity.” Id. at 526. Although the case involved—as here—unequal treatment in

    violation of the Constitution, the Court held that because the 1925 amendment was

    unconstitutional, it was “a nullity” and “powerless to work any change in the existing

    statute,” which “must stand as the only valid expression of legislative intent.” Id. at 526. The




                                                     10
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 11 of 22 PageID 551




    Court reasoned that “[a]n act which violates the Constitution has no power and can, of

    course, neither build up nor tear down. It can neither create new rights nor destroy existing

    ones. It is an empty legislative declaration without force or vitality.” Id. at 527. Just as the

    1925 unconstitutional amendment in Frost could not—even temporarily—invalidate a

    constitutional law passed in 1915, the 2015 unconstitutional amendment carving out

    government-debt calls cannot—even temporarily—invalidate the 1991 TCPA prohibition on

    robocalls.
            C.      The majority of courts reject Defendant’s arguments and hold that
                    severance of the government-debt exception preserves liability for TCPA
                    robocalls placed between 2015 and 2020.

            Numerous circuit and district courts have held that the government-debt exception

    should be severed and not affect liability for robocall violations made between 2015 and

    2020. The weight of authority strongly supports the retroactive application of the Supreme

    Court’s severability holding, ensuring that parties may still be held liable for robocall

    violations made in the past five years.

            For example, in Duguid v. Facebook, Inc., the plaintiff sought damages on behalf of a

    proposed class for violations of the TCPA’s prohibition on robocalling that occurred, in part,

    in 2016. 926 F.3d 1146, 1153 (9th Cir. 2019), cert. granted in part, No. 19-511, 2020 WL

    3865252 (U.S. July 9, 2020). As an affirmative defense, Facebook argued that the statute

    violated the First Amendment. Id. at 1149. The Ninth Circuit—like the Supreme Court in

    AAPC—“reject[ed] Facebook’s challenge that the TCPA as a whole is facially

    unconstitutional,” “sever[ed] the debt-collection exception as violative of the First

    Amendment,” and “reverse[d] the dismissal of Duguid’s amended complaint.” Id. at 1157.



                                                      11
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 12 of 22 PageID 552




    The Ninth Circuit remanded for further proceedings, recognizing that severing the

    unconstitutional government-debt exception from the general prohibition meant that

    plaintiff’s TCPA claims could proceed.

           Before the Supreme Court’s AAPC decision, district courts across the country

    routinely denied motions to dismiss TCPA robocall claims on the grounds that the

    government-debt exception created an unconstitutional content-based speech restriction.

    These courts reasoned that even if the government-debt exception was unconstitutional, the

    exception was severable from the rest of § 227(b)(1)(A)(iii), and therefore the plaintiffs’

    claims for robocall violations unrelated to the collection of government debt could still

    proceed. See Parker v. Portfolio Recovery Assocs., LLC, No. SACV 18-02103-JVS, 2019

    WL 4149436, at *3 (C.D. Cal. July 11, 2019); Geraci v. Red Robin Int’l, Inc., No. 19-CV-

    01826-RM-KLM, 2020 WL 2309559, at *9 (D. Colo. Feb. 28, 2020), report and

    recommendation adopted, 2020 WL 1443597 (D. Colo. Mar. 25, 2020); Rosenberg v.

    LoanDepot.com, LLC, 435 F. Supp. 3d 308, 321 (D. Mass. 2020); Doohan v. CTB Inv’rs,

    LLC, 427 F. Supp. 3d 1034, 1060 (W.D. Mo. 2019); Taylor v. KC VIN, LLC, No. 4:19-CV-

    00110-NKL, 2019 WL 6499140, at *16 (W.D. Mo. Dec. 3, 2019); Hand v. Beach Entm’t KC,

    LCC, 425 F. Supp. 3d 1096, 1122 (W.D. Mo. 2019); Smith v. Truman Rd. Dev., LLC, 414 F.

    Supp. 3d 1205, 1231 (W.D. Mo. 2019); Perrong v. Liberty Power Corp., 411 F. Supp. 3d

    258, 269 (D. Del. 2019); Katz v. Liberty Power Corp., No. 18-cv-10506-ADB, 2019 WL

    4645524, at *8 (D. Mass. Sept. 24, 2019); Wijesinha v. Bluegreen Vacations Unlimited, Inc.,

    No. 19-20073-CIV, 2019 WL 3409487, at *6 (S.D. Fla. Apr. 3, 2019); Silwa v. Bright House




                                                    12
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 13 of 22 PageID 553




    Networks, LLC, No. 2:16-cv-235-FtM-29MRM, 2018 WL 1531913, at *6 (M.D. Fla. Mar.

    29, 2018).

           Since the Supreme Court’s July 6, 2020 AAPC decision, district courts have

    continued to find that severance of the unconstitutional government-debt exception means

    that parties may still be liable under the TCPA for robocalls made after 2015. For example, in

    Burton v. Fundmerica, Inc., the court granted a motion for default judgment for a violation of

    § 227(b)(1)(A)(iii), noting “[t]he Supreme Court held last month in Barr that one of the

    exceptions to this general prohibition, for calls made solely to collect a government debt,

    violated the First Amendment, but that it was severable from the TCPA as a whole—so, the

    provision on which the plaintiff’s claim relies survived.” No. 8:19-CV-119, 2020 WL

    4504303, at *1 n.2 (D. Neb. Aug. 5, 2020); see also Buchanan v. Sullivan, No. 8:20-cv-301,

    2020 WL 6381563, at *3 (D. Neb. Oct. 30, 2020) (noting that Barr sever[ed] the debt-

    collection exemption to the TCPA as unconstitutional, leaving the generally applicable

    restrictions at issue here intact”); Schmidt v. AmerAssist A/R Sols. Inc., No. CV-20-00230-

    PHX-DWL, 2020 WL 6135181, at *4 n.2 (D. Ariz. Oct. 19, 2020) (“The exception for calls

    made to collect government-owned or -guaranteed debt was recently invalidated and severed

    by the Supreme Court [in] Barr. … Schmidt has not alleged that her purported debt was

    owned or guaranteed by the government, so Barr does not affect this case.”); Komaiko v.

    Baker Techs., Inc., No. 19- cv-03795-DMR, 2020 WL 5104041, at *2 (N.D. Cal. Aug. 11,

    2020) (“Because the government-debt exception is not at issue in this case, the decision in

    [Barr] does not impact Plaintiffs’ claims.”); Lacy v. Comcast Cable Commc’ns, LLC, No.




                                                    13
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 14 of 22 PageID 554




    3:19-CV-05007-RBL, 2020 WL 4698646, at *1 (W.D. Wash. Aug. 13, 2020) (lifting stay

    after AAPC because “while the Supreme Court invalidated the debt-collection exception, it

    severed the provision rather than striking down the TCPA’s entire robocall restriction”);

    Burton v. Fundmerica, Inc., No. 8:19-cv-119, 2020 WL 4504303, at *1 n.2 (D. Neb. Aug. 5,

    2020) (“The Supreme Court held last month in Barr that one of the exceptions to this general

    prohibition, for calls made solely to collect a government debt, violated the First

    Amendment, but that it was severable from the TCPA as a whole—so, the provision on

    which the plaintiff’s claim relies survived.”).
           D.      Defendant urges the Court to adopt the reasoning of two district courts
                   that misconstrued AAPC.

           Despite the Supreme Court’s clear mandate in Justice Kavanaugh’s severability

    analysis—which two Justices joined and four Justices concurred in judgment with—that “our

    decision today does not negate the liability of parties who made robocalls covered by the

    robocall restriction,” AAPC, 140 S. Ct. at 2355 n.12, Defendant contends that it cannot be

    held liable for calls made from 2015 to July 2020, while the government-debt exception was

    in effect. Defendant urges the Court to adopt the reasoning of two district courts that

    dismissed the plaintiffs’ TCPA claims based on robocalls placed in the last five years,

    finding they lacked jurisdiction to enforce unconstitutional statutes. See generally

    Lindenbaum v. Realgy, LLC, No. 1:19-cv-2862, 2020 WL 6361915 (N.D. Ohio Oct. 29,

    2020); Creasy v. Charter Commc’ns, Inc., No. 20-1199, 2020 WL 5761117 (E.D. La. Sept.




                                                      14
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 15 of 22 PageID 555




    28, 2020). 2 These courts misconstrued the Supreme Court’s analysis as well as established

    principles of severability.

           The Creasy and Lindenbaum courts assumed that the Supreme Court held in AAPC

    that section 227(b)(1)(A)(iii) was, in its entirety, unconstitutional and invalid. See

    Lindenbaum, 2020 WL 6361915, at *1 (“In AAPC, the Supreme Court held that 47 U.S.C.

    § 227(b)(1)(A)(iii) violated the Constitution ….”); Creasy, 2020 WL 5761117, at *1 (“AAPC

    amounts to an adjudication that the entirety of § 227(b)(1)(A)(iii) was unconstitutional”), *5

    (“the entirety of the pre-severance version of § 227(B)(1)(A)(iii) is void because it itself was

    repugnant to the Constitution”). This assumption is wrong and directly contradicted by the

    Supreme Court’s express rejection of the contention that the entire robocall ban was

    unlawful. See AAPC, 140 S. Ct. at 2348-49 (“we disagree with plaintiffs’ broader initial

    argument for holding the entire 1991 robocall restriction unconstitutional”). The Creasy and

    Lindenbaum courts then assumed that the Supreme Court cured unconstitutional provision

    through severance. See Lindenbaum, 2020 WL 6361915, at *4 (the Supreme Court “cured the

    unequal treatment concern by preventing parties from engaging in speech”); Creasy, 2020

    WL 5761117, at *6. This assumption was also wrong. The point of the severability doctrine

    is to identify the portion of a statute that is unconstitutional and to “refrain from invalidating

    more of the statute than is necessary.” AAPC, 140 S. Ct. at 2350 (quoting Reagan v. Time



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      Moreover, the decisions in Creasy and Lindenbaum are invalid because the government was
    not provided Rule 5.1 notice and opportunity to intervene concerning the constitutional
    question. Fed. R. Civ. P. 5.1. While a court may reject a constitutional challenge prior to the
    expiration of the government’s opportunity to intervene, a court “may not enter a final
    judgment holding the statute unconstitutional.” Id.


                                                      15
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 16 of 22 PageID 556




    Inc., 468 U.S. 641, 652-53 (1984)); see also Koog v. United States, 79 F.3d 452, 463 (5th

    Cir. 1996) (holding that the “remainder of the interim provision” of the Brady Handgun

    Violence Protection Act “is severable from the invalidated duties and therefore survives this

    constitutional attack”).

           For example, in United States v. Melis, the defendants challenged their convictions

    under the Anti-Riot Act on the grounds that statute is facially overbroad under the Free

    Speech Clause of the First Amendment. 972 F.3d 518, 525 (4th Cir. 2020). The Fourth

    Circuit held that it was unconstitutionally overbroad, but that the “overbroad portions of the

    statute are severable from the constitutionally valid remainder.” Id. at 541. The court held

    that the overly broad language, “the last phrase of § 2102(b),” is “easily dropped off from the

    rest of the clause in which it appears, much like the government-debt exception severed in

    Barr.” Id. at 542. The court noted that Barr and other cases “illustrate just how ‘surgical’ we

    ought to be in severing unconstitutional language from an otherwise inoffensive statute.” Id.

    The defendants argued that their convictions should be overturned because their indictments

    were “premised on a conspiracy to violate the statute as a whole” but the Fourth Circuit

    rejected that argument, reasoning that that “because the defendants’ substantive offense

    conduct falls under the statute’s surviving purposes, their convictions must stand.” Id. at 546-

    47. The same is true in this case. If a TCPA defendant’s conduct falls within the part of the

    robocall ban that is constitutional, the defendant should still be liable regardless of when the

    violations occurred.




                                                     16
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 17 of 22 PageID 557




           The Supreme Court’s decision in National Federation of Independent Business v.

    Sebelius, 567 U.S. 519 (2012), is also instructive. In Sebelius, the Supreme Court held that a

    provision of the Affordable Care Act that permitted the Secretary of Health and Human

    Services to “withhold all further [Medicaid] payments … to the state if she determines that

    the State is out of compliance with any Medicaid requirement” was unconstitutional. Id. at

    585 (emphasis and internal quotations removed). The Supreme Court cured this

    unconstitutional provision by severing it from the statute, rather than striking down the entire

    Affordable Care Act. 3 Id. at 588 (“The remedy for that constitutional violation is to preclude

    the Federal Government from imposing such a sanction. That remedy does not require

    striking down other portions of the Affordable Care Act.”). In so ruling, the Supreme Court

    did not hold that the Affordable Care Act was unconstitutional prior to severing this

    provision. In fact, the Supreme Court explicitly stated that “[t]oday’s holding does not affect

    the continued application of § 1396c to the existing Medicaid program.” Id. at 586.

           A case that Defendant relies on is also instructive. In Seila Law LLC v. Consumer

    Financial Protection Bureau, the Supreme Court held that the CFPB’s leadership by a single

    individual removable only for inefficiency, neglect, or malfeasance violated the separation of

    powers, rendering the director’s decisions invalid. 140 S. Ct. 2183, 2197 (2020). The Court

    held the proper remedy was to sever the “for cause” provision. Id. at 2192 (“We go on to

    hold that the CFPB Director’s removal protection is severable from the other statutory



    3
     Like the TCPA, the Affordable Care Act has a severability clause. Id. at 586 (“The chapter
    of the United States Code that contains § 1396c includes a severability clause confirming that
    we need go no further.”).


                                                    17
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 18 of 22 PageID 558




    provisions bearing on the CFPB’s authority.”). But the Court noted that related provisions

    that formed the CFPB’s structure and decision-making process were not retroactively

    unconstitutional. Id. at 2211 (The provisions of the Dodd-Frank Act bearing on the CFPB’s

    structure and duties remain fully operative without the offending tenure restriction. Those

    provisions are capable of functioning independently, and there is nothing in the text or

    history of the Dodd-Frank Act that demonstrates Congress would have preferred no CFPB to

    a CFPB supervised by the President.”).

           By contrast, the approach adopted by the Creasy and Lindenbaum courts—to

    eliminate all liability for robocalls to cell phones over the last five years “notwithstanding

    Congress’s decisive choice to prohibit most robocalls to cell phones”—“disrespect[s] the

    democratic process, through which the people’s representatives have made crystal clear that

    robocalls must be restricted.” AAPC, 140 S. Ct. at 2356. “That is not a judicially modest

    approach.” Id. “[S]everability is a doctrine borne out of constitutional-avoidance principles,

    respect for the separation of powers, and judicial circumspection when confronting

    legislation duly enacted by the co-equal branches of government. Parties cannot, by litigation

    tactics or oversight, compel the courts to strike down more of a law than the Constitution or

    statutory construction principles demand.” Ass’n of Am. Railroads v. United States Dep’t of

    Transp., 896 F.3d 539, 550 (D.C. Cir. 2018), cert. denied sub nom. Ass’n of Am. Railroads v.

    Dep’t of Transp., 139 S. Ct. 2665 (2019).

           The Lindenbaum and Creasy courts acknowledged the Supreme Court’s direction in

    footnote twelve that its decision “does not negate the liability of parties who made robocalls




                                                     18
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 19 of 22 PageID 559




    covered by the robocall restriction,” AAPC, 140 S. Ct. at 2355 n.12, but characterized it as

    dicta based on the mistaken impression that only three Justices joined in it. See Lindenbaum,

    2020 WL 6361915, at *5 (“footnote 12 is contained in a plurality opinion endorsed by only

    three Justices” and “constitutes non-binding obitur dictum”); Creasy, 2020 WL 5761117, at

    *4 n.4 (“This footnote is merely persuasive, as opposed to mandatory, because it appears in

    an opinion commanding the votes of only three Justices, and because … it constitutes mere

    “obiter dictum.”). In fact, as discussed above, seven Justices joined in this holding: Chief

    Justice Roberts and Justice Alito, who joined in Justice Kavanaugh’s plurality opinion;

    Justice Sotomayor, who disagreed with the application of strict scrutiny but agreed that the

    government-debt exception was severable, AAPC, 140 S. Ct. at 2357; and Justice Breyer,

    joined by Justices Ginsburg and Kagan, who would have held the government-debt exception

    was constitutional but “concur[red] in the judgment with respect to severability,” id., at 2363.

    Footnote twelve defines the scope of the severability judgment, clarifying what the Supreme

    Court’s decision as to severability “means.” Id. at 2355 n.12. 4

           Even if footnote twelve was dicta, Supreme Court dicta is extremely persuasive. The

    Eleventh Circuit has said that Supreme Court dicta is entitled to considerable deference.

    Schwab v. Crosby, 451 F.3d 1308, 1325 (11th Cir. 2006) (“It would never occur to us to tell

    the Supreme Court that we would decide our cases based on our analysis of its decisions, not

    its own analysis of them, just because that analysis had been announced in a case where it


    4
     The fact that a statement is made in a footnote does not mean that it is dicta. See, e.g., Fla.
    Dep’t of Labor & Emp’t Sec. v. United States Dep’t of Labor, 893 F.2d 1319, 1323 n.7 (11th
    Cir. 1990) (“it is not possible to characterize this footnote in [the Supreme Court’s opinion]
    as obiter dictum”).


                                                     19
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 20 of 22 PageID 560




    was not essential to the result.”); see also ACLU v. McCreary County, Ky., 607 F.3d 439,

    447-48 (6th Cir. 2010) (“this court considers itself bound by Supreme Court dicta almost as

    firmly as by the Court’s outright holdings, particularly when the dicta is recent and not

    enfeebled by later statements.” (citation omitted)).

           Moreover, the Supreme Court’s grant of certiorari in Duguid v. Facebook, discussed

    above, confirms its intent that parties may be liable for violating the robocall prohibition over

    the last five years. Facebook sought review of the Ninth Circuit’s severance of the

    government-debt exception, making the same arguments the courts accepted in Creasy and

    Lindenbaum. See Petition for Writ of Certiorari, Facebook, Inc. v. Duguid, 2019 WL

    5390116, at *1-2, 16-22 (Oct. 17, 2019). The Supreme Court denied certiorari as to that issue

    while granting certiorari as to a second, unrelated issue—the definition of an automatic

    telephone dialing system. See Facebook, Inc. v. Duguid, No. 19-511, 2020 WL 3865252, at

    *1 (U.S. July 9, 2020). Thus, the decisions in Creasy and Lindenbaum conflict with the only

    appellate court to decide what effect severance of the government-debt exception has on

    TCPA claims based on robocalls made between 2015 and 2020, and the Supreme Court—

    despite granting certiorari on a separate issue in the case—denied certiorari as to the Ninth

    Circuit’s determination.

           None of the other cases Defendant cites warrant a departure from the Supreme

    Court’s clear instruction that its decision only impacts liability for robocalls made to collect

    government debt. The cases are relevant only if the Court accepts Defendant’s mistaken

    assumption that the Supreme Court found the entire robocall ban in section 227(b)(1)(A)(iii)




                                                     20
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 21 of 22 PageID 561




    to be unconstitutional rather than just the government-debt exception. Most merely apply the

    “general rule of retrospective effect for the constitutional decisions of this Court,” Harper,

    509 U.S. at 94, without any consideration of severability issues. See Reynoldsville Casket Co.

    v. Hyde, 514 U.S. 749, 751-52 (1995) (Supreme Court decision holding Ohio tolling law

    unconstitutional must be given retroactive effect); Bradley v. Sch. Bd. of City of Richmond,

    416 U.S. 696, 711-15 (1974) (appellate courts must apply the law in effect at the time they

    render their decisions, not at the time of judgment, “unless doing so would result in manifest

    injustice or there is statutory direction or legislative history to the contrary”); U.S. v. Baucum,

    80 F.3d 539, 540-41 (D.C. Cir. 1996) (recognizing that “once a statute has been declared

    unconstitutional, the federal courts thereafter have no jurisdiction over alleged violations

    (since there is no valid ‘law of the United States’ to enforce)” but “Baucum’s belated

    assertion of a constitutional defect does not work to divest that court of its original

    jurisdiction to try him for a violation of the law at issue”).

            Defendant also cites Grayned v. City of Rockford, where the Supreme Court held that

    an antipicketing ordinance was unconstitutional at the time of the appellant’s arrest and

    conviction and did not assess the ordinance as later amended by the legislature. 408 U.S. 104,

    107 & n.2 (1972). Because the statute had already been amended, the Court had no reason in

    its brief analysis to consider whether it would be appropriate to sever the offending portion of

    the statute and the implications if it had done so. In Sessions v. Morales-Santana, the

    Supreme Court cited Grayned in noting in dicta that a defendant can challenge his conviction

    “without regard to the manner in which the legislature might subsequently cure the

    infirmity.” 137 S. Ct. 1678, 1699 n.24 (2017). The citizenship statute at issue, which required

    a U.S.-citizen parent to maintain a physical presence in the country for a certain period of



                                                      21
Case 8:19-cv-02523-TPB-AAS Document 90 Filed 12/08/20 Page 22 of 22 PageID 562




    time that was shorter for unwed mothers than unwed fathers, had not been amended. The

    Supreme Court found that the law violated equal protection and concluded that “the

    legislature’s intent, as revealed by the statute at hand” would be to abrogate the exception for

    unwed mothers in favor of “preservation of the general rule” of the longer physical presence

    requirement. Id. at 1699-1700. Thus, in Sessions the Supreme Court considered legislative

    intent in determining that removing the exception was the appropriate remedy, just as it did

    in AAPC. In Sessions, however, the Court could not “convert [the] exception for unwed

    mothers into the main rule” that covered married couples and unwed fathers and therefore

    left it “to Congress to select, going forward, a physical-presence requirement … uniformly

    applicable to all children born abroad with one U.S.-citizen and one alien parent, wed or

    unwed.” Id. at 1686.

                                       IV.     CONCLUSION

           Plaintiff respectfully requests that the Court deny Defendant Federal Insurance’s

    motion.


    Dated: December 8, 2020                    /s/ Avi R. Kaufman
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                                   CERTIFICATE OF SERVICE
           I, hereby certify that on December 8, 2020, I filed the foregoing with the Court’s

    CM/ECF system, which served the same on the counsel of record.
                                          /s/ Avi R. Kaufman
                                          Avi R. Kaufman



                                                    22
